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             11 Independent Fiduciary
             12 Receivership Management, Inc.
             13                     UNITED STATES DISTRICT COURT

             14                    CENTRAL DISTRICT OF CALIFORNIA

             15 R. ALEXANDER ACOSTA,                       CASE NO. 19-CV-778-MWF (MAAx)
                Secretary of Labor, United States          Honorable Michael W. Fitzgerald
             16 Department of Labor
                                                           INDEPENDENT FIDUCIARY’S
             17              Plaintiff,                    NOTICE OF MOTION AND
             18        v.                                  MOTION TO APPROVE ITS
                                                           [PROPOSED] ORDERLY PLAN
             19 RIVERSTONE CAPITAL, LLC, a                 OF LIQUIDATION AND FOR
                California limited liability               ORDER PROVIDING ALL WRITS
             20 corporation; NEXGEN                        ACT PROTECTION
             21 INSURANCE SERVICES
                INCORPORATED, a California                 Hearing Date
             22 corporation; NGI BROKERAGE                 Date:     April 29, 2019
                SERVICES, INC., a California               Time:     10:00 a.m.
             23 corporation; JAMES C. KELLY, an
                                                           Location: First Street Courthouse
             24 individual; TRAVIS O. BUGLI, an                      350 West First Street
                individual; ROBERT CLARKE, an
             25 individual; ERIK MANQUEROS, an                       Courtroom 5A
                individual,                                          Los Angeles, CA 90012
             26
                             Defendants.
             27
             28
                                                       1
61821274.3        IND. FID.’S MX TO APPROVE PROPOSED ORDERLY PLAN OF         19-CV-00778 (MWF)
                  LIQUIDATION AND ORDER PROVIDING ALL WRITS ACT PROTECTION
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    1 TO THE CLERK OF THE COURT, ALL INTERESTED PARTIES AND THEIR
    2 ATTORNEYS OF RECORD:
    3         PLEASE TAKE NOTICE that on April 29, 2019 at 10:00 a.m., or as soon
    4 thereafter as counsel may be heard, in Courtroom 5A of the above-referenced
    5 Court located at 350 West First Street, Los Angeles, California, Receivership
    6 Management Inc., as Court-appointed Independent Fiduciary will and does moves
    7 this Court to enter an Order to Approve Its [Proposed] Orderly Plan of Liquidation
    8 and for an Order Providing All Writs Act Protection.
    9         This Motion will be based upon this Notice of Motion and Motion of
   10 Independent Fiduciary to Approve Its [Proposed] Orderly Plan of Liquidation and
   11 for an Order Providing All Writs Act Protection and Exhibits thereto, filed and
   12 served concurrently herewith, the pleadings and records on file herein, and upon
   13 any such oral or documentary matter as may be presented at the hearing of this
   14 Motion.
   15         Local Rule 7-3 requires that a conference amongst counsel be had at least 7
   16 days prior to filing a motion wherein “the substance of the contemplated motion
   17 and any potential resolution” is to be discussed.      Respectfully, discussion of
   18 “potential resolution” of this Motion is not germane because the Motion herein
   19 made – one seeking approval of the Independent Fiduciary’s (Proposed) Orderly
   20 Plan of Liquidation – is a motion made pursuant to the Court’s order, see DE #41
   21 at p. 6, ¶ 3 (“The Independent Fiduciary is ORDERED to submit to the Court, on
   22 or before March 29, 2019, a proposed orderly plan of liquidation for review and
   23 approval.”). Therefore, irrespective of conferring amongst counsel, this Motion
   24 was to be filed on or before March 29, 2019. Moreover, the named Defendants are
   25 in one of three different categories wherein discussion of “potential resolution” of
   26 the Motion is not germane: (1) having had a consent judgment entered against
   27 them (Defendants Kelly, Bugli and Clarke – DE #41), (2) having been dismissed
   28 from the action (Defendant Manqueros – DE #41 at p. 3, ¶ 1) or (3) having had
                                                2
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    1 default entered against them (Riverstone Capital LLC, NexGen Insurance Services,
    2 Inc. and NGI Brokerage Services, Inc. – DE #38). It is also the understanding of
    3 the Independent Fiduciary that none of the Defendants are presently represented by
    4 counsel.     Counsel for the Independent Fiduciary, however, did conduct a
    5 conference with counsel for the Secretary of the Department of Labor on March
    6 21, 2019, regarding this Motion.
    7
    8 Dated: March 29, 2019                  CALDWELL LAW FIRM
    9
   10                                    By: s/ Larry J. Caldwell
   11                                        Larry J. Caldwell, Esq.

   12
   13 Dated: March 29, 2019                  WYATT, TARRANT & COMBS, LLP

   14
   15                                    By: s/ J. Graham Matherne
                                             J. Graham Matherne, Esq.
   16
   17                                        Attorneys for Court-Appointed
                                             Independent Fiduciary Receivership
   18                                        Management, Inc.
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    1                              I.    INTRODUCTION
    2         As ordered in the Redacted Consent Judgment and Order Acknowledging
    3 Plan Termination and Setting Date for Independent Fiduciary to Submit Orderly
    4 Plan of Liquidation (“Consent Judgment”) (DE #41), the Independent Fiduciary
    5 submits this filing as its Motion to Approve Its [Proposed] Orderly Plan of
    6 Liquidation and for Order Providing All Writs Act Protection.
    7         Pursuant to the Redacted Amended Temporary Restraining Order and Order
    8 Lifting Seal entered on February 7, 2019 (DE #22) (“Amended TRO”),
    9 Receivership Management, Inc. was appointed as temporary independent fiduciary
   10 (“IF”) over the Riverstone MEA and Participating Plans (“Riverstone MEWA” or
   11 “Plan”).    Amongst other matters, the IF was given authority to design and
   12 implement a fair process for paying out covered claims to the extent feasible.
   13 Based on the investigation conducted by the IF from its February 7, 2019 court
   14 appointment until at or near February 28, 2019, the IF determined that the
   15 Riverstone MEWA and Participating Plans were not viable and not subject to
   16 rehabilitation. Accordingly, on February 28, 2019, the IF issued a Notice of
   17 Benefit Fund Termination which stated, amongst other matters, that the Riverstone
   18 MEWA’s condition was highly unstable and was unable to meet the obligations of
   19 providing medical benefits to the employees of sponsoring employers participating
   20 in the Riverstone MEWA and that the Riverstone MEWA would be terminated
   21 effective March 8, 2019 at 11:59 p.m. (Pacific time). This Notice of Benefit Fund
   22 Termination was mailed to all sponsoring employers, employee participants and
   23 medical care providers via mailing accomplished by the third-party administrators
   24 (Hawaii Mainland Administrators and S&S Strategies) beginning that day
   25 (February 28, 2019) and the following days as needed.           Notice of the IF’s
   26 termination of the Plan was submitted, through notice filing, to the Court on
   27 February 28, 2019 (DE #27), which included a copy of the Notice of Benefit Fund
   28 Termination and the Declaration of Robert E. Moore, Jr. setting forth the reasons
                                               4
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    1 and considerations supporting that termination.         The Court, via its Consent
    2 Judgment, has acknowledged the IF’s authority to terminate, and action of
    3 terminating, the Riverstone MEWA. (DE #41 at p. 6, ¶ 5.) Moreover, the Court,
    4 in its Consent Judgment, ordered the IF to submit, on or before March 29, 2019, a
    5 proposed orderly plan of liquidation (“Proposed Liquidation Plan”) for the Court’s
    6 review and approval. Id.
    7         NOTICE OF MOTION AND NOTICE OF FURTHER ACTIONS
                        REGARDING LIQUIDATION PLAN
    8
    9 A.      Notice of This Motion
   10         The IF will provide notice of this Motion as set forth in the Proof of
   11 Service/Service List set forth herein. Regarding notice of this Motion to non-
   12 parties – employers, employee plan participants and medical providers – the Notice
   13 of Benefit Fund Termination (which was mailed to sponsoring employers,
   14 employee participants and medical providers beginning on February 28, 2019, and
   15 the days following, as needed) expressly states as follows:
   16               It is anticipated that the Orderly Plan of Liquidation will
                    be submitted at or near the end of March, 2019. That
   17               filing will be posted on the website at
   18               www.receivermgmt.com/riverstone-nexgenhealthplan.
                    You are directed to refer to that website at that time
   19               regarding matters relating to the Orderly Plan of
   20               Liquidation.
   21 See DE #27-2. Therefore, the sponsoring employers, employee participants and
   22 the medical providers have been placed on notice of the late March 2019
   23 submission of the Proposed Liquidation Plan and have been instructed to refer to
   24 the above-noted website regarding this filing. The IF is not providing further
   25 notice of this Motion to sponsoring employers, employee participants or medical
   26 providers.
   27 / / /
   28 / / /
                                                 5
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    1 B.      Notice of Further Action Regarding Liquidation Plan
    2         The financial status of the Riverstone MEWA is dire – some $36 million in
    3 unpaid claims and some approximate $3.5 million of assets that might be available
    4 to pay out of the Riverstone MEWA Liquidation Estate. See Declaration of Robert
    5 E. Moore, Jr. (attached as Exhibit A) at ¶¶ 3-4. Regarding that approximate $3.5
    6 million in assets, administrative costs incurred by the IF are given first priority.
    7 Consent Judgment (DE #41) at p. 6, ¶ 4. The mailing of the Notice of Benefit
    8 Fund Termination referenced above, while necessary, was massive and was
    9 completed by the third-party administrators at a cost of approximately $123,000.00
   10 Moore Declaration at ¶ 5. Given what has been incurred as administrative fees and
   11 expenses and what is reasonably expected to be incurred as administrative fees and
   12 expenses, the IF can ill afford to send out mailings to the sponsoring employers,
   13 employee participants and medical care providers at $123,000 per mailing. The
   14 Notice of Benefit Fund Termination provides the contact information for the IF –
   15 website address, e-mail address, phone number and mailing address (see DE #27-
   16 2) – and informs all recipients to contact the IF and access the referenced website
   17 with questions and/or for updated information.         Moore Declaration at ¶ 5.
   18 Accordingly, as part of the Court’s approval of the Proposed Liquidation Plan, and
   19 to conserve administrative expenses, the IF requests that the Court approve that
   20 notice of future actions regarding the Proposed Liquidation Plan, through posting
   21 on the website www.receivermgmt.com/ riverstone-nexgenhealthplan is adequate
   22 notice to the sponsoring employers, employee participants and medical providers.
   23                PROPOSED ORDERLY PLAN OF LIQUIDATION
   24         Both the Amended TRO and Consent Judgment charged the IF to design and
   25 implement a fair process for paying out covered claims to the extent feasible. DE
   26 #22 at ¶ 4(a); DE #41 at ¶ 3. What constitutes a “fair process for paying out
   27 covered claims to the extent feasible” will no doubt be open to debate and criticism
   28 from self-interested groups. Some might say that the IF should simply add up the
                                                6
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    1 processed claims in the aggregate and make a pro-rata distribution of cents on the
    2 dollar from the assets it controls – simple and sweet. But such would likely expose
    3 the employee participants, and perhaps the employer groups, to collection actions
    4 from medical providers and would likely frustrate efforts by the employers which
    5 have viable stop loss coverage from having eligible claims to make to the stop loss
    6 insurer. In proposing the Proposed Liquidation Plan that is attached as Exhibit B
    7 hereto, the IF is guided by several considerations:
    8         1.    The employee participants – who are truly the most innocent of
    9               victims in this dire situation – should be protected to the fullest extent
   10               possible (indeed the Court has recognized this as a significant concern
   11               through its providing “All Writs Act” protection to the employee
   12               participants during the pendency of this action (Consent Judgment
   13               (DE #41) at p. 9, ¶ 12));
   14         2.    The sponsoring employers entered into what has been held as a self-
   15               funded multiple employer welfare arrangement. Consent Judgment
   16               (DE #41) at p. 2, ¶ I;
   17         3.    The Plan documents applicable to the sponsoring employers provide
   18               that the sponsoring employer shall pay Plan benefits and
   19               administrative expenses.     Moore Declaration at ¶ 6 (attached as
   20               Exhibit A hereto); and
   21         4.    Similarly, the Complaint filed in this action by the Secretary of the
   22               Department of Labor states that contractual documents between the
   23               Riverstone MEWA and employers indicate that the participating
   24               employers were responsible to cover any underfunding of claims.
   25               Complaint at ¶43.
   26         With those considerations in mind, the IF submits the attached Proposed
   27 Liquidation Plan (Exhibit B hereto) that, in general, demands payment from each
   28 sponsoring employer of the amounts of its employees’ unpaid claims, said payment
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    1 to be through the applicable third-party administrator for payment to the applicable
    2 medical service provider. The Proposed Liquidation Plan provides for a deadline
    3 for all claims to be submitted to the relevant third-party administrators and for the
    4 third-party administrator to create unpaid claims runs for each sponsoring
    5 employer that the IF will provide to each employer.              Upon receipt of its
    6 individualized unpaid claims run, each sponsoring employer will be responsible for
    7 paying or otherwise addressing its unpaid claims by a certain date.              Each
    8 sponsoring employer group will have the ability to present a Proof of Claim
    9 (“POC”) to the Riverstone MEWA Liquidation Estate for the amount of unpaid
   10 claims it paid.     Other POCs can be submitted by employers, employee plan
   11 participants, medical providers and non-medical service claimants. Those POCs
   12 will be reviewed and adjudicated by the IF. Sponsoring employers which do not
   13 pay the unpaid claims for its employees, as set forth in the individualized unpaid
   14 claims runs that each will receive, will be subject to suit brought by the IF for those
   15 unpaid claim amounts.
   16         The IF asserts that, given the above-stated considerations, the Proposed
   17 Liquidation Plan, attached hereto as Exhibit B, does implement a fair process for
   18 paying out covered claims to the extent feasible and moves the Court to approve it.
   19 A.      Summary of Proposed Liquidation Plan
   20         The Proposed Liquidation Plan states that the existing third-party
   21 administrators will process all claims received with dates of service through the
   22 date upon which the particular sponsoring employer either was terminated from the
   23 Plan (e.g. the date through which premiums/premium equivalents/contributions
   24 were paid) or through the March 8, 2019 termination date (see, DE #27) whichever
   25 is later. The third-party administrators will provide each employer with a “claims
   26 run” of those unpaid claims. Each sponsoring employer will be instructed to pay
   27 the unpaid claims of its employee participants, through the applicable third-party
   28 administrator, to the applicable medical care provider(s) and obtain releases from
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    1 those medical care providers. In doing so, the sponsoring employer can utilize the
    2 existing third-party administrators, for which the third-party administrator will bill
    3 the employer group, in contacting the particular medical providers and reaching
    4 agreements as to the amount of unpaid claims to be paid (e.g. negotiating down
    5 the unpaid amount, repricing, etc.).
    6         The third-party administrators are currently, and will continue, processing
    7 claims and establishing processed, adjudicated (but unpaid) amounts for those
    8 claims. The Proposed Liquidation Plan establishes a May 7, 2019 deadline after
    9 which no further medical claims will be accepted from any source by the third-
   10 party administrators for processing.        While the Proposed Liquidation Plan
   11 contemplates that the processing of claims received by the third-party
   12 administrators is, and will continue to be, “on-going”, final unpaid claims runs will
   13 be provided to each sponsoring employer by June 1, 2019. Each employer will
   14 then have until July 15, 2019 either to have paid the unpaid claims amounts or to
   15 have made agreements with and paid the relevant medical care providers the
   16 agreed upon amounts (and secured releases from the medical care providers). To
   17 the extent that employers do not pay, or partially pay, the unpaid claims for
   18 medical care provided to its employee participants, then the IF will make demand
   19 upon the sponsoring employer to pay such amount, as shown on the unpaid claims
   20 runs, and if that demand is not addressed, then the IF will consider institution of
   21 suits as against the non-responsive employer(s).
   22         The Proposed Liquidation Plan provides for a Proof of Claim (“POC”)
   23 procedure whereby claims by sponsoring employers who paid the unpaid claims
   24 amounts, other medical care related claims and non-medical care related claims
   25 will be received by the IF. The Proposed Liquidation Plan sets forth a POC
   26 submission deadline of August 15, 2019. The Proposed Liquidation Plan states
   27 that within 30 days of the Court’s approval of the Proposed Liquidation Plan, the
   28 IF will post on the website POC Forms, along with instructions for use by
                                                 9
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    1 sponsoring employers, employee participants and medical providers in submitting
    2 a claim as against the Riverstone MEWA assets. At that time, the IF will mail to
    3 those persons or entities, of who/which it is aware that may have a non-medical
    4 related claim, a POC Form with instructions. The IF will review, adjudicate and
    5 issue a determination of the POC claim to the claimant. The instructions will set
    6 forth a procedure for any POC claimant to request reconsideration if it is
    7 dissatisfied with the IF’s determination of the POC and if further dissatisfied
    8 petition this Court for review and final determination.
    9         The Proposed Liquidation Plan also notes that the IF will review information
   10 regarding potential claims or causes of action to be brought in the effort to increase
   11 the amount of assets available to pay claims and administrative expenses. Finally,
   12 the Proposed Liquidation Plan states that upon completion of the POC process and
   13 upon the completion of any asset recovery efforts, the IF will submit to the Court a
   14 plan of distribution of available assets for the Court to approve.
   15 II.     INDEPENDENT FIDUCIARY’S REQUEST THAT THE COURT
              ORDER, UNDER 28 U.S.C. § 1651, THAT ANY PURSUIT OF A
   16
              CLAIM AGAINST THE PLAN ASSETS, OUTSIDE OF THE
   17         PROCEDURES SET FORTH IN THE LIQUIDATION PLAN, BE
              ENJOINED OR OTHERWISE PROHIBITED.
   18
   19         The attached Proposed Liquidation Plan sets forth the POC procedures by
   20 which all claimants are to pursue his/her/its claim as against the assets of the Plans.
   21 The establishment of a comprehensive liquidation procedure is a necessary
   22 component of the IF fulfilling its duties under the Court’s Consent Judgment (see
   23 DE #41 at p. 6, ¶ 3). The procedures set forth in the attached Proposed Liquidation
   24 Plan provide for the centralization of claims and the fair treatment and
   25 determination of the claims against the assets of the Plans.            The Proposed
   26 Liquidation Plan provides the means to address all of the claims as against the
   27 assets of the Plans equitably without having to address claimants who/which could
   28 try to race to another forum to “get ahead” of the others with regard to their claims.
                                                 10
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    1 These rationales supported the entry of the All Writs Act Order portion of the
    2 Consent Judgment – DE #41 at ¶ 12 – and the IF asserts those same rationales
    3 apply regarding protections needed in relation to the Proposed Liquidation Plan.
    4         The All Writs Act (28 U.S.C. §1651) provides that:
    5               [A]ll courts established by Act of Congress may issue all
                    writs necessary and appropriate in aid of their respective
    6
                    jurisdictions and agreeable to the usages and principles of
    7               law.
    8         Therefore, a federal court may issue orders under the All Writs Act as may
    9 be necessary or appropriate to effectuate its orders and/or prevent frustration of its
   10 orders. United States v. New York Tel. Co., 434 U.S. 159, 174 (1977) (“The power
   11 conferred by the [All Writs] Act extends, under appropriate circumstances, to
   12 persons who, though not parties to the original action or engaged in wrongdoing,
   13 are in a position to frustrate the implementation of a court order or the proper
   14 administration of justice . . . , and, encompass even those who have not taken any
   15 affirmative action to hinder justice.”) (brackets added; citations omitted).
   16         As noted above, the Consent Judgment entered in this action (DE #41)
   17 expressly stated that:
   18               1)     The IF has exclusive control over the plan assets of
                    the Riverstone MEWA and Participating Plan.
   19
                    2)     The IF has the authority to adjudicate and pay or
   20               deny any and all claims submitted to the Riverstone
   21               MEWA and Participating Plans.
                    3)     The IF is to design and implement an orderly plan
   22
                    of liquidation for paying out covered-claims to the extent
   23               feasible.
   24 Consent Judgment (DE #41) at p. 3, ¶ 2b; p. 4, ¶ 2 g; and p. 6 at ¶ 3. Therefore, the
   25 Consent Judgment gives the IF the sole authority to establish a plan of liquidation
   26 to address all claims against the assets of the Plans. If claimants do not follow that
   27 liquidation plan, but rather choose to make claims in other forums as against the
   28 assets of the Plans, then the orderly, centralized and equitable treatment of claims
                                                11
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    1 made against the assets of the Plans will be frustrated. Accordingly, an order
    2 staying, enjoining and/or prohibiting any effort by a person or entity to claim
    3 against the assets of the Plans, outside of the procedures set forth in the Proposed
    4 Liquidation Plan, is needed in aid of effecting the above-quoted portions of the
    5 Consent Judgment.
    6          The All Writs Act relief requested herein would not be barred by the Anti-
    7 Injunction Act (28 U.S.C. § 2283)1 because, to the IF’s knowledge, there are no
    8 current state court actions wherein a person or entity is pursuing a claim as against
    9 the assets of the Plans controlled by the IF. Moore Declaration (Exhibit A hereto)
   10 at ¶ 7. See In re Joint Eastern and Southern Dist. Asbestos Litigation, 134 F.R.D.
   11 32, 37 (E. & S.D. N.Y. 1990) (Anti-Injunction Act applies only as to pending state
   12 court proceedings and does not effect a federal court’s power to enjoin future state
   13 court actions or any actions in other federal courts).
   14          Even if the Anti-Injunction Act did apply, it would not prohibit the relief
   15 sought by the IF because the relief sought by the IF is the only means of ensuring
   16 that an orderly plan of addressing all claims against the assets of the Plans is
   17 established – a matter critical to the implementation of the Court’s Consent
   18 Judgment. Therefore, the relief requested by the IF falls squarely within the
   19 “where necessary in aid of its jurisdiction” exception to the Anti-Injunction Act.
   20 See Archer v. Chisholm, 870 F. 3d 603, 621 (7th Cir 2017); In re; Consolidated
   21 Welfare Fund ERISA Litigation, 798 F. Supp. 125, 128 (S.D. N.Y. 1992).
   22          Finally, both the “order in aid of jurisdiction” provision of the All Writs Act
   23 and the “order in aid of jurisdiction” exception to the Anti-Injunction Act would
   24 apply to this situation where the Court has taken jurisdiction over the assets of the
   25
   26
        1
               The Anti-Injunction Act generally prohibits federal courts from enjoining pending
   27 state court proceedings unless expressly authorized by Acts of Congress or where
        necessary in and of its jurisdiction or to protect or effectuate its judgments. 28 U.S.C.
   28 §2283.
                                                     12
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    1 Plans and placed them under the exclusive control of the IF to be managed and to
    2 adjudicate claims against those assets. See DE #41, p. 3, ¶ 2b and p. 4, ¶ 2g.
    3         Having exercised jurisdiction over the “property” (i.e. the assets of the
    4 Plans), it is reasonable for the Court to enter an order as requested by the IF so as
    5 to “preclude other courts from exercising control over that same property.” In re:
    6 Consolidated, 798 F. Supp. at 127 n. 3. If a person or entity is allowed to pursue,
    7 in another venue/forum, his/her/its claim as against the assets of the Plans outside
    8 of the procedures of the Proposed Liquidation Plan, then there will be a “race to
    9 the courthouse” in relation to claims against the assets of the Plans, the result being
   10 the frustration of an orderly liquidation and distribution of the assets of the Plans to
   11 approved claimants.
   12         While the IF anticipates – and certainly hopes – that claims against the assets
   13 of the Plans will be made through the process set forth in the Proposed Liquidation
   14 Plan, it is foreseeable that a claimant will balk at that process and pursue claims
   15 against the assets of the Plans in another forum. Under the All Writs Act, the
   16 Court has broad equitable powers and discretion to enter orders in aid of its
   17 jurisdiction/to protect against frustration of its orders.      See Cutler v. The 65
   18 Security Plan, 831 F. Supp. 1008, 1013 (E.D. N.Y. 1993). See also Acosta v. AEU
   19 Benefits, LLC, et al., (N.D. Ill., #1:17-cv-07931-JHL-SMF), Order Granting
   20 Independent Fiduciary’s Motion to Approve Proposed Orderly Plan of Liquidation
   21 Including Entry of “All Writs Act” Order (DE #146 in that case) (4/18/18),
   22 attached as Exhibit C hereto. Accordingly, the IF requests that the Court, in
   23 conjunction with approving the Proposed Liquidation Plan, enter an order (in a
   24 fashion parallel to the All Writs Act Order previously entered as part of the
   25 Consent Judgment in this matter – DE #41 at ¶ 12) that expressly (a) stays, enjoins
   26 or prohibits any action pursued by a person or entity regarding any claim made
   27 against the assets of the Plans outside of the procedures and processes set forth in
   28 the Proposed Liquidation Plan and (b) maintains such protections during the
                                                 13
        IND FID’S MX TO APPROVE PROP ORDERLY PLAN OF LIQUIDATION, ET AL        19-CV-00778 (MWF)
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    1 pendency of the liquidation process (as envisioned in the Proposed Liquidation
    2 Plan) or until further order of the Court.
    3         The IF will submit to the Court, as per Local Rules of Court a [Proposed]
    4 Order Granting Independent Fiduciary’s Motion to Approve its Orderly Plan of
    5 Liquidation and Order Providing All Writs Act Protection (“Proposed Order”) for
    6 the Court’s consideration and entry. If the Proposed Order is entered, the IF will
    7 provide notice of such by immediately posting it at the website being used in
    8 relation to this matter (www.receivermgmt.com/riverstone-nexgenhealthplan).
    9
   10 Dated: March 29, 2019                   CALDWELL LAW FIRM
   11
   12                                    By: s/ Larry J. Caldwell
   13                                        Larry J. Caldwell, Esq.

   14
   15 Dated: March 29, 2019                   WYATT, TARRANT & COMBS, LLP

   16
   17                                    By: s/ J. Graham Matherne
                                             J. Graham Matherne, Esq.
   18
   19                                         Attorneys for Court-Appointed
                                              Independent Fiduciary Receivership
   20                                         Management, Inc.
   21
   22
   23
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                                                   14
        IND FID’S MX TO APPROVE PROP ORDERLY PLAN OF LIQUIDATION, ET AL   19-CV-00778 (MWF)
Case 2:19-cv-00778-MWF-MAA Document 48 Filed 03/29/19 Page 15 of 17 Page ID #:812



    1                                 PROOF OF SERVICE
    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    3       I am employed in the aforesaid county, State of California. I am over the
    4 age of 18 years and not a party to the within action. My business address is
      Caldwell Law Firm, 21550 Oxnard Drive, 3rd Floor, Woodland Hills, CA 91367.
    5
    6       On the date set forth below, I caused the foregoing document described as:

    7            INDEPENDENT FIDUCIARY’S NOTICE OF MOTION
    8            AND MOTION TO APPROVE ITS [PROPOSED]
                 ORDERLY PLAN OF LIQUIDATION AND FOR ORDER
    9            PROVIDING ALL WRITS ACT PROTECTION
   10
      to be serve on all other parties and/or their attorney(s) of record to this action as
   11 follows:
   12                          SEE ATTACHED SERVICE LIST
   13    X    BY CM/ECF SYSTEM In accordance with the electronic filing procedures
   14         of this Court, I certify that I caused a copy of the above document to be
              served upon the following counsel of record, who are registered participants
   15         of this Court’s CM/ECF system, via the court’s CM/ECF System on March
   16         29, 2019.
         X    BY ELECTRONIC MAIL I served the above document to the e-mail
   17         address(es) listed in the attached Service List on March 29, 2019. A true and
   18         correct copy of said transmittal will be produced if requested by any party or
              the court.
   19    X    BY MAIL I am readily familiar with the business practice for collection and
   20         processing of correspondence for mailing with the United States Postal
              Service. The envelope was placed for deposit in the United States Postal
   21         Service on March 29, 2019. The envelope was sealed and placed for
   22         collection and mailing with first-class prepaid postage on this date following
              ordinary business practices.
   23    X    (FEDERAL) I declare under penalty of perjury that the foregoing is true
   24         and correct, and that I am employed at the office of a member of the bar of
              this Court at whose direction the service was made.
   25
   26 Executed on March 29, 2019, at Woodland Hills, California.
   27                                           s/ Larry J. Caldwell
   28                                           LARRY J. CALDWELL
                                                  15
        IND FID’S MX TO APPROVE PROP ORDERLY PLAN OF LIQUIDATION, ET AL        19-CV-00778 (MWF)
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    1                               SERVICE LIST
    2                    ACOSTA v. RIVERSTONE CAPITAL, et al.
                         USDC Case No. 19-CV-778-MWF (MAAx)
    3
    4 Attorneys for Plaintiff via CM/ECF
    5 Ian H. Eliasoph, Esq.
    6 Office of the Solicitor
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      U.S. Department of Labor
   11 350 S., Figueroa Street, Suite 370
   12 Los Angeles, CA 90071
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   14
        Defendants, In Pro Per, via Electronic Mail and First Class Mail
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   17 11311 Queensbury Drive
   18 Bakersfield, CA 93312
      buglitravis@gmail.com
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   20 NexGen Insurance Services, Inc.
      c/o Travis O. Bugli
   21 11311 Queensbury Drive
   22 Bakersfield, CA 93312
      buglitravis@gmail.com
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   24 NGI Brokerage Services, Inc.
      c/o Travis O. Bugli
   25 11311 Queensbury Drive
   26 Bakersfield, CA 93312
      buglitravis@gmail.com
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   13 Erik.Manqueros2015@yahoo.com
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